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                    EXHIBIT C
6/14/2018                               ‘Fallout Shelter’ is Beating ‘Candy Crush Saga’ in Profits & iOS App Store Rank – Game Rant
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  ‘Fallout Shelter’ is Beating ‘Candy Crush Saga’
  in Profits & iOS App Store Rank




    By Sarah Fields | 3 years ago


    Candy Crush Saga is generally viewed as a highly-
    addictive, but unoriginal game that survives on
    microtransactions and rewarding gameplay. With
    that in mind, it comes as on surprise that the game
    has dominated the top 4 highest-grossing games of
    the iOS app store for years.

    While the creation of the Fallout Shelter mobile
    game surprised many, it’s not a surprise that the
    overwhelming popularity of the Fallout franchise
    has spread to the iOS title, too. In fact, it’s become
    so popular so fast that it’s dethroned Candy Crush
    Saga from the iOS its spot amongst the highest-
    earning iOS apps.

    Fallout Shelter was announced at Bethesda’s pre-E3
    conference on Sunday evening, alongside
    the Fallout 4 gameplay reveal trailer and the
    announcement of a special Fallout 4 pip-boy
    edition. Surprisingly, executive Todd Howard made
    it clear that the game was not going to be like most
    freemium mobile games: there would be no
    paywall, and in-game transactions would be
    minimal.

https://gamerant.com/fallout-shelter-beat-candy-crush-saga-app/                                                                       1/2
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    Despite this, the game has skyrocketed in popularity and
    earnings, reaching the status of most-downloaded free app in all
    of the US and UK on its very first day of availability, according to
    App Annie. Within one day of being on the market, Fallout
    Shelter conquered Candy Crush Saga and became the 3rd-
    highest grossing game on the iOS App Store, which it maintained
    until Thursday, dropping down to 4th-highest with Candy Crush
    Saga falling to 5th.




    Unfortunately, it’s not possible to pin down the exact amount of
    money that Bethesda has netted from Fallout Shelter just yet.
    However, in King’s last earnings report for Candy Crush Saga,
    the game was netting about $2 million per day. Even if Candy
    Crush Saga is earning less than that at this time, it’s reasonable
    to assume that Fallout Shelter is raking in some serious profits.
    With any luck, this will encourage Bethesda to speed up its
    development process of the Android version of Fallout Shelter,
    which has only been said to be released “within the next few
    months.”

    Fallout Shelter is a fun game for Fallout fans to bide their time
    while they eagerly await November 10th to roll around
    and Fallout 4 to be released. Moreover, Bethesda created it as a
    game with integrity that doesn’t nickle and dime its players to
    get a competitive edge or simply to progress to the next level.
    There’s no telling how long the game will hold onto the spot
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